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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

CARLOS ALVAREZ CHICAS, ALONSO VILLATORO,
MISAEL ALEXANDER MARTINEZ CASTRO, ANGEL
MARTINEZ, EDWIN ULLOA MOREIRA and MATEO
UMAÑA individually and on behalf of all others similarly
situated,                                                  Case No. 21-cv-09014
                                                           (PAE)(SDA)
                                          Plaintiffs,

                        - against -

KELCO CONSTRUCTION, INC., KELCO
LANDSCAPING, INC., E.L.M. GENERAL
CONSTRUCTION CORP. D/B/A KELLY’S CREW, JOHN
KELLY and JOSEPH PROVENZANO,

                                          Defendants.


   PLAINTIFFS’ REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF
   MOTION FOR CONDITIONAL COLLECTIVE CERTIFICATION AND COURT-
            AUTHORIZED NOTICE PURSUANT TO 29 U.S.C. § 216




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                                 PRELIMINARY STATEMENT

        Plaintiffs’ motion for court-authorized notice of this collective action identified two

policies that may violate the overtime provisions of the FLSA:

        1. Failure to aggregate hours. Kelco Construction, Inc. (“Kelco”) and E.L.M.
           General Construction Corp. (“ELM”) are related entities that each issued
           payroll checks to the same employees covering the same workweek. However,
           the hours paid by Kelco and ELM were not aggregated for the purpose of
           calculating overtime under the FLSA and the NYLL, and overtime hours were
           not paid at 1 ½ times the employee’s regular rate of pay, resulting in the
           failure to properly pay overtime.

        2. Travel time. ELM hourly employees and Kelco drivers were required to
           report each morning to the Defendants’ facility located at 25 Newton Place,
           Hauppauge, New York (the “facility”). Upon arriving the employees would
           load company trucks with materials and tools. They would then travel to
           worksites in the New York Metropolitan area. At the end of the workday,
           Kelco drivers would transport employees back to the park and ride and then
           return to the facility. ELM employees returned directly to the Hauppauge
           facility where they would unload and clean the trucks. Plaintiffs were not paid
           from the time they reported for work or began working until the end of the
           workday.

Based upon the foregoing, the Plaintiffs requested notice to the following three groups of
workers:

        1. All hourly Kelco employees who, at any time during the three-year period
           prior to the filing of the complaint and up to the present time, received
           paychecks from ELM for the same workweek;1

        2. All hourly Kelco employees who drove company vehicles at any time during
           the three-year period prior to the filing of the complaint and up to the present
           time; and

        3. All hourly ELM employees who worked at any time during the three-year
           period prior to the filing of the complaint and up to the present time.2

        In opposition to the instant motion, Defendants submit the declarations of 18 current

employees (“Declarants”) in an attempt to contradict the statements made by Plaintiffs and


1
  For this group, the hours worked for both Kelco and ELM were not aggregated, and defendants compensated
employees for overtime at rates far below 1 ½ times the regular rate of pay.
2
  The second and third groups were not paid for compensable travel time.



                                                   1
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establish that the above three groups are not similarly situated to the Plaintiffs.

                                              LEGAL ARGUMENT

1. THE DECLARATIONS SUBMITTED BY DEFENDANTS DO NOT FORM A BASIS
   FOR DENYING THE MOTION FOR CONDITIONAL CERTIFICATION

    1.1. Defendants may not defeat a motion for conditional certification by submitting
         competing declarations.

          Courts “routinely disregard” declarations submitted by defendants at the conditional-

certification stage. Ke v. JR Sushi 2 Inc., No. 19 Civ. 7332 (PAE) (BCM), 2021 U.S. Dist.

LEXIS 24554, at *5 (S.D.N.Y. Feb. 9, 2021) (Engelmayer, J.). “[C]ompeting declarations

therefore cannot defeat the conditional certification motion.” Dong Yuan v. & Hair Lounge Inc.,

No. 18-CV-11905 (AT) (BCM), 2019 U.S. Dist. LEXIS 230330, at *17 (S.D.N.Y. Nov. 7,

2019).3

    1.2. The Defendants’ declarations are defective because the interpreters are neither
         court certified, nor have they established their qualifications to translate.

          “It is well settled that when a declarant does not speak and read English. . .the party

relying on his declaration is required to submit documents sufficient to establish that the

3

          The overwhelming consensus in this District is that “[d]efendants . . . may not defeat a court’s
          determination that [p]laintiffs are similarly situated by submitting their own affidavits” at the
          conditional certification stage. Colon v. Major Perry Street Corp., 12 Civ. 3788 (JPO), 2013 U.S.
          Dist. LEXIS 93021, 2013 WL 3328223 at *5 (S.D.N.Y. July 2, 2013) (Oetken, D.J.); accord
          Winfield v. Citibank, N.A., 843 F. Supp. 2d 397, 407 n.6 (S.D.N.Y. 2012) (Koeltl, D.J.) (“[C]ourts
          in this Circuit regularly conclude that [competing] declarations do not undermine the plaintiff’s
          showing in the first stage of the conditional certification process.”), class decertified, 93 F. Supp.
          3d 279 (S.D.N.Y. 2015); Pippins v. KPMG LLP, 11 Civ. 0377 (CM)(JLC), 2012 U.S. Dist. LEXIS
          949, 2012 WL 19379 at *12 (S.D.N.Y. Jan. 3, 2012) (McMahon, D.J.) (“To balance the parties’
          competing affidavits at this stage would require the Court to determine the facts, determine
          credibility of the affiants, and resolve legal contentions, all of which the conditional certification .
          . . process is structured so as to avoid.”); Francis v. A & E Stores, Inc., 06 Civ. 1638 (CS)(GAY),
          2008 U.S. Dist. LEXIS 83369, 2008 WL 4619858 at *3 (S.D.N.Y. Oct. 16, 2008) (Seibel, D.J.)
          (adopting Report & Recommendation as modified) (declining to consider defendants’ competing
          affidavits to show manager duties were not similarly situated); Damassia v. Duane Reade, Inc., 04
          Civ. 8819 (GEL), 2006 U.S. Dist. LEXIS 73090, 2006 WL 2853971 at *4 (S.D.N.Y. Oct. 5, 2006)
          (Lynch, then D.J., now Cir. J.) (declining to consider 56 affidavits submitted by defendants where
          plaintiffs had not yet had an opportunity to depose affiants).

Amhaz v. Booking.com (USA), Inc., 2018 U.S. Dist. LEXIS 144675, at *16-17 (S.D.N.Y. Aug. 23, 2018)



                                                             2
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declarant knew what he was signing.” Barrera v. Forlini’s Rest., Inc., No. 22-CV-1256 (VEC),

2022 U.S. Dist. LEXIS 144595, at *4 n.2 (S.D.N.Y. Aug. 12, 2022). One way of establishing this

is by submitting an English declaration signed by a foreign-language speaker accompanied by a

declaration of translation. See Cuzco v. Orion Builders, Inc., 477 F. Supp. 2d 628, 634 (S.D.N.Y.

2007).

         Federal courts recognize at least two broad categories of interpreters: (1) “court-certified”

interpreters who have passed the Administrative Office certification examination, and (2)

“language skilled/ad hoc” interpreters who can demonstrate the ability to interpret from English

to a foreign language and from a foreign language into English.4 Unless an interpreter is court-

certified, the declaration of translation must indicate the translator’s “facility” in the foreign

language and English. Barrera v. Forlini’s Rest., Inc., No. 22-CV-1256 (VEC), 2022 U.S. Dist.

LEXIS 144595, at *4 n.2 (S.D.N.Y. Aug. 12, 2022).

         Here, the translators Luis Lopez and Francisco Ferenczi state that they are “certified court

interpreter[s]” and that they translated the declarations in their “capacity as…court

interpreter[s].”5 Under the Court Interpreters Act, 28 U.S.C. § 1827(b)(3), the Director of the

Administrative Office of the United States Courts maintains and publishes “a current master list

of all certified interpreters.” According to the lists, Luis Lopez and Francisco Ferenczi were not

federally court-certified interpreters as they claim.6 Moreover, Messrs. Lopez and Ferenczi do

not indicate their level of proficiency in English and Spanish/Portuguese. English declarations of

a foreign language declarant unaccompanied by a certified translation “are inadmissible and will

not be considered by the Court.” Heredia v. Americare, Inc., No. 17 Civ. 06219 (RWL), 2020

4
   See https://www.uscourts.gov/services-forms/federal-court-interpreters/interpreter-categories#a1 (last visited
2/12/2023)
5
  Lopez Declaration ¶¶ 1, 2; Ferenczi Declaration ¶¶ 1, 2.
6
  Administrative Office of the United States Courts: Public Release Roster of Federally Certified Court Interpreters
(January 15, 2023 and February 9, 2023)(annexed to the Declaration of Steven J. Moser as Exhibits 1 & 2).


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U.S. Dist. LEXIS 122880, at *12 (S.D.N.Y. July 13, 2020). Therefore, the declarations are

inadmissible.

      1.3. The Declarants were victims of the very FLSA violations identified in the motion
           for conditional certification.

           The Defendants’ payroll records indicate that the Declarants were victims of a policy that

violated the FLSA. Because Kelco and ELM were related employers, they were required to

aggregate hours worked and pay for all overtime hours at 1 ½ times the regular rate of pay. (see

Plaintiffs’ MOL In Support of Motion for Conditional Certification, at 9-10). The Declarants

were paid by both Kelco and ELM for work ostensibly performed during the same workweek.

Their hours were not aggregated for the purpose of computing overtime, and they were not paid

for overtime at 1 ½ times their regular rate of pay.

           Examples of workweeks in which each Declarant was deprived of overtime

compensation are provided in Table 1 (page 5). The first line of Table 1 shows that, according to

Eduardo Narvaez’s paystubs for the workweek ending February 19, 2022, he worked a combined

total of more than 40 hours for the Defendants. 7 His Kelco regular rate was $52.56 and his

overtime rate was $ 78.840 per hour. However, Defendants paid him for 15 hours of overtime at

only $25.00 per hour. The second line of Table 1 shows that, according to Elmer Amador’s

paystubs for the workweek ending February 19, 2022, he worked a combined total of more than

40 hours for the Defendants. 8 His Kelco regular rate was $45.85 and his overtime rate was

$68.775 per hour. However, the Defendants paid him for 15 hours of overtime at only $25 per

hour.




7
    Paystubs for Eduardo Narvaez from Kelco and ELM are annexed to the Moser Declaration as Exhibits 3 & 4.
8
    Paystubs for Elmer Amador from Kelco and ELM are annexed to the Moser Declaration as Exhibits 5 & 6.


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                  Kelco                ELM                    Regular                   Add’l         OT
                  Paystub              Paystub     Week       Rate             OT Rate OT             Rate
Declarant Name    Ex.                  Ex.         Ending     (Kelco)          (Kelco)  Hours         Paid
Eduardo Narvaez   3                    4           2/19/2022 $ 52.56           $ 78.840 15            $25.00
Elmer Amador      5                    6           2/19/2022 $ 45.85           $ 68.775 15            $25.00
Elvis Canales     7                    8           4/10/2021 $ 43.00           $ 64.500 8             $37.50
Juan Hernandez    9                    10          1/29/2022 $ 46.12           $ 69.180 12            $30.00
Mario Rodriguez   11                   12          1/29/2022 $ 46.12           $ 69.180 18            $30.00
Rohan Guthrie     13                   14          6/20/2020 $ 42.65           $ 63.975 8             $15.00
Elmer Cruz        15                   16          8/22/2021 $ 43.00           $ 64.500 8             $33.00
Jose Canales      17                   18          5/15/2021 $ 43.48           $ 65.220 8             $42.00
Jose Flores       19                   20          10/2/2021 $ 51.63           $ 77.445 15            $20.00
Narciso Alvarenga 21                   22          11/20/2021 $ 43.98          $ 65.970 3             $20.00
Ramirez
Noel Narvaez      23                   24          2/19/2022       $ 48.45     $ 72.675      15       $20.00

Table 1. According to the Declarants’ paystubs, they were not paid for overtime hours at 1 ½
times their regular rate of pay.9

    1.4. The Defendants have not sufficiently challenged the assertion that Kelco drivers
         and ELM employees are similarly situated in their “travel time” claims.

        Defendants submit the declarations of at least seven individuals who say that they were

not required to report to the facility each morning: Elvis Canales10 , Rohan Guthrie11 , Elmer

Cruz12, Helder Piedade13, Jose Escobar14, Oscar Machado15, and Carlos Soares16. The declarants’

claim that they were not required to report to the Hauppauge facility each morning is

unsurprising because the “travel time” collective consists of (1) Kelco drivers and (2) ELM

employees, who reported to the Hauppauge facility each morning. Canales, Guthrie, Elmer Cruz,

Piedade, Escobar, Machado, and Soares are Kelco employees but were not drivers. Therefore,

they do not fall within the definition of the “travel time” collective.

9
  The inclusion of this table within the body of this Memorandum causes it to be 11 pages. Plaintiffs respectfully
request that the table not be included towards the page limits.
10
   Elvis Canales Decl. ¶ 9.
11
   Rohan Guthrie Decl. ¶ 6.
12
   Elmer Cruz Decl. ¶¶ 7-8.
13
   Hector Piedade Decl. ¶ 6.
14
   Jose Escobar Decl. ¶ 6.
15
   Oscar Machado Decl. ¶ 6.
16
   Carlos Soares Decl. ¶ 6.


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        It is important to note the following, however:

        •   None of the 18 Declarants deny that there is a group of individuals who, like
            the Plaintiffs, were required to report to the facility each morning before
            traveling to the worksite.

        •   None of the Declarants say that employees like the Plaintiffs who were
            required to report to the facility were paid for travel time at 1 ½ times their
            regular rate of pay.

     1.5. The declarations submitted by the Defendants do not explicitly state that employees
          were paid for all overtime hours worked at 1 ½ times their regular rate of pay.

        None of the Declarants has explicitly stated that he was paid for all overtime hours at 1 ½

times his regular rate of pay. 7 of the 18 Declarations, which were prepared by Defendants’

counsel, do not even mention the word “overtime.”17 The remaining declarations, also drafted by

Defendants’ counsel, fall short of saying that Defendants paid them for all overtime hours at 1 ½

times the regular rate of pay. Instead, they state that the Declarants were paid for “all hours” at

“an overtime rate.” See Elmer Cruz Declaration (ECF No. 85, ¶ 16)(“When I work over forty

(40) hours in a week, I am paid for those hours at an overtime rate.”); Gerson Juarez Declaration

(ECF No. 86, ¶ 11)(“Whenever I worked over forty ( 40) hours per week, ELM paid me an

overtime hourly rate.”); Helder Piedade (ECF No. 87, ¶ 14)( Kelco Construction paid me for all

hours I worked over forty ( 40) in a week); Jose Canales (ECF No. 88, ¶ 14)(“When I work over

forty ( 40) hours in a week, I am paid for those hours at an overtime rate.”); Jose Escobar (ECF

No. 89, ¶ 17)(I am paid for overtime hours from Kelco Construction and ELM); Jose Flores

(ECF No. 90, 19)(“I generally am paid $25.00 per hour from ELM for additional Saturday work

[sic.] and am paid at an overtime hourly rate of $37.00 for hours worked over forty ( 40).”);

Junior Blanco (ECF No. 91, 3)(“Whenever I worked over forty (40) hours per week, ELM paid

me an overtime hourly rate.”); Milton Ruiz (ECF No. 92, 16)(“Whenever I worked over forty

17
 Declarations of Eduardo Narvaez, Elmer Amador, Elvis Canales, Juan Hernandez, Mario Rodriguez, Rohan
Guthrie and Carlos Soares.


                                                 6
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(40) hours per week, ELM paid me an overtime hourly rate.”); Narciso Alvarenga Ramirez (ECF

No. 93, 17)(“I am paid for overtime hours from Kelco Construction and ELM.”); Noel Narvaez

(ECF No. 94, 13)(“Depending on the job, I work overtime hours on Saturday and am paid an

overtime rate.”)(emphasis supplied).

2. DEFENDANTS HAVE NOT DEMONSTRATED ANY REASON WHY THE
   PRODUCTION OF THE COLLECTIVE LIST SHOULD REQUIRE 30 DAYS, AND
   A TEN-DAY PRODUCTION PERIOD IS REASONABLE.

           There is sufficient precedent for a ten-day production period. See Alvarez v. Schnipper

Rests. L.L.C., No. 16 Civ. 5779 (ER), 2017 U.S. Dist. LEXIS 204596, at *18 (S.D.N.Y. Dec. 11,

2017); Emeterio v. A & P Rest. Corp., No. 20-CV-970 (JMF), 2021 U.S. Dist. LEXIS 5750, at

*5 (S.D.N.Y. Jan. 12, 2021); Laroque v. Domino's Pizza, L.L.C., 557 F. Supp. 2d 346, 357

(E.D.N.Y. 2008). Courts also have given a defendant up to 14 days to produce the collective-

class list. See Aleman-Valdivia v. Top Dog Plumbing & Heating Corp., No. 20-CV-421

(LDH)(MMH), 2021 U.S. Dist. LEXIS 189132, at *35 (E.D.N.Y. Sept. 30, 2021); Campos v.

Lenmar Rest. Inc., No. 18 Civ. 12359 (KPF), 2019 U.S. Dist. LEXIS 202598, at *16 (S.D.N.Y.

Nov. 21, 2019); Valerio v. RNC Indus., L.L.C., 314 F.R.D. 61, 76 (E.D.N.Y. 2016); Sharma v.

Burberry Ltd., 52 F. Supp. 3d 443, 465 (E.D.N.Y. 2014); Zaldivar v. JMJ Caterers, Inc., 166 F.

Supp. 3d 310, 327 (E.D.N.Y. 2016).

3. NOTICE BY TEXT MESSAGE IS APPROPRIATE

           As pointed out in the Plaintiffs’ memorandum of law, neither the FLSA nor the NYLL

requires an employer to record the employee’s email. Defendants agree to “notice distribution by

mail and email”18, but have not indicated whether they have current mailing or email addresses

for the putative collective action members.



18
     Defendants’ Memorandum of Law, at 15.


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        Defendants do not dispute the statistics showing that recipients are much more likely to

open and read a text message than to open and read an email. Nor do the Defendants deny that

text message is an efficient method of communication. The decisions that deny notice by text

message are unpersuasive. As explained by one court,

        The trend among district courts. . .has been to approve notice by text message
        only where plaintiffs can show that notice by U.S. mail and email was returned
        undeliverable. However, I find that approach unnecessarily complicated and less
        effective than allowing notice by text message in the first instance. The remedial
        purpose of the FLSA guides my decision. Considering the changes in technology
        and the way we communicate, allowing plaintiffs to send notice via text message
        will increase the likelihood of potential class members receiving notice. This is
        the aim of the FLSA.

Pryke v. First Solar, Inc., No. 3:21-CV-00681-JGC, 2021 U.S. Dist. LEXIS 208794, at *8 n.1

(N.D. Ohio Oct. 29, 2021) (citations omitted).

4. POSTING OF NOTICE AT JOBSITES IS APPROPRIATE

        “Defendants object to Plaintiffs’ overbroad request to have Defendants post Notice in a

‘prominent job location at each job site at which Plaintiffs and the putative class worked.”19

The Defendants suggest that they are unable to post notice at locations where work is being

performed because they do not “have control over any of the ‘job sites’” where Plaintiffs work.20

However, at least two Articles of the New York Labor Law not only permit, but already require

the Defendants to post notices at job sites.

        Kelco admits in its answer that it is “a landscape installation and construction company

that performs work in the New York metropolitan area.” 21 Therefore, it is subject to the

Construction Industry Fair Play Act, which states:


19
   See Def MOL, 23-24 (emphasis supplied)(“Additionally, Plaintiffs (sic.) are not alleged to have control over any
of the ‘jobsites’ listed in the SAC, all of which are major landmarks or generalized references to locations in New
York City.”)
20
   Id.
21
   The Complaint (ECF 1), and Defendants’ Answer (ECF No. 23), are annexed to the Moser Declaration as Exhibits
25 & 26.


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        Every contractor22 shall post in a prominent and accessible place on the site where
        the construction is performed a legible statement, provided by the commissioner,
        that describes the responsibility of independent contractors to pay taxes required
        by state and federal law, the rights of employees to workers’ compensation,
        unemployment benefits, minimum wage, overtime and other federal and state
        workplace protections, and the protections against retaliation and the penalties in
        this article if the contractor fails to properly classify an individual as an employee.

NYLL § 861-D.

        Similarly, Kelco admits that “it was involved in public work projects during the relevant

period.” ¶ 57. However, Kelco suggests it should not be required to post notice at public work

projects because the Plaintiffs have not demonstrated that Kelco would be “be permitted” to post

notice “anywhere in Central Park’s 843 acres. . . or on international territory at the United

Nations.” Def MOL at 19. However, Kelco is not only permitted but is already required, to post

notice at job sites where public work is being performed:

        The contractor and every sub-contractor on public works contracts shall post in a
        prominent and accessible place on the site where the work is performed a legible
        statement of all wage rates and supplements as specified in the contract to be paid
        or provided, as the case may be, for the various classes of mechanics, workers, or
        laborers employed on the work. Such posted statement shall be written in plain
        English and titled, in lettering no smaller than two inches in height and two inches
        in width, with the phrase “Prevailing Rate of Wages”. Such posted statement
        shall be constructed of materials capable of withstanding adverse weather
        conditions.

NYLL § 220 3a(a)(ii).

        Therefore, the Plaintiffs request that the Defendants be required to post notice in a

prominent and accessible place on the job site where work is performed a copy of the notice, in

English and Spanish for the duration of the opt-in period and that such posted notice be

constructed of materials capable of withstanding adverse weather conditions.

22
   According to the Construction Industry Fair Play Act “Construction” broadly includes “constructing,
reconstructing, altering, maintaining, moving, rehabilitating, repairing, renovating or demolition of any building,
structure, or improvement, or relating to the excavation of or other development or improvement to land.” NYLL §
861-B(1). “Contractor” includes any corporation “who engages in construction[.]” (NYLL § 861-B(2)), and includes
both general contractors and subcontractors (NYLL § 861-B(3)).


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5. DEFENDANTS’ REQUEST FOR INJUNCTIVE RELIEF REGARDING
   COMMUNICATIONS WITH PUTATIVE COLLECTIVE ACTION MEMBERS IS
   VAGUE AND UNFOUNDED

         As previously noted, the declarations submitted by the Defendants imply that the

Declarants were properly compensated for all overtime hours worked.23 In other words, after the

Plaintiffs moved for notice to the collective, and before the Court ruled on the propriety of

notice, the Defendants engaged ex-parte communications with the collective. The Declarants

now appear to be under the impression that they were properly paid for all overtime hours

worked. Defendants do not disclose what was said to the Declarants, where the questioning took

place, whether the employee’s supervisor or “boss” was present, or whether the Declarants were

aware that their declarations would be made public. Defendants do not indicate whether the

employees were informed that they are protected from retaliation by the NYLL and the FLSA or

that their answers might affect their rights under the NYLL and the FLSA.24

         Now Defendants want to “protect” these employees from any “abuse of power” by

Plaintiffs’ counsel.25 Defendants have admitted to unsupervised communications with putative

collective action members regarding the merits of their overtime claims, and have submitted

declarations that may adversely affect the Declarants’ entitlement to relief. Defendants are not on

strong footing when they suggest that Plaintiffs’ counsel might engage in “abusive

communications.” Nor have they adequately described or shown any entitlement to injunctive




23
   See e.g. Canales Decl. ¶ 14 (“When I work over forty ( 40) hours in a week, I am paid for those hours at an
overtime rate.” (ECF No. 88, 14); Ramirez Decl. ¶ 17 (“I am paid for overtime hours from Kelco Construction and
ELM.”); Narvaes Decl. ¶ 13 (“Depending on the job, I work overtime hours on Saturday and am paid an overtime
rate.”).
24
   Defendants cannot obtain via a declaration what could otherwise not be obtained by a release. In other words,
obtaining factual concessions from current employees which may prejudice their recovery under the FLSA is little
different than obtaining an extra-judicial release. Therefore, to the extent that the defendants seek to rely on these
declarations to deprive declarants of recovery, we would move to strike the declarations.
25
   See Def. MOL at 24.


                                                         10
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relief. Therefore, the request for injunctive relief regarding communications is not properly

before the Court.

                                       CONCLUSION

       Plaintiff respectfully requests that the Court grant this motion in its entirety, thereby

conditionally certifying this case as an FLSA conditional collective action under 29 U.S.C.

§216(b) and authorizing dissemination of notice to all Opt-In Class members.

Dated: February 13, 2023
       Huntington, New York

                                                   Respectfully Submitted,

                                                   MOSER LAW FIRM, P.C.


                                                   ________________________
                                                   By: Steven J. Moser (SM 1133)




                                              11
